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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

____________________________________
                                        )
General Tools & Instruments, LLC        )
                                        )           Case No. 1:19-cv-02519
              v.                        )
                                        )           Judge: Honorable Robert W. Gettleman
Does 1-2092, As Identified in Exhibit 2 )
                                        )           Magistrate: Honorable Sunil R. Harjani
                                        )
____________________________________)

                                         VOLUNTARY DISMISSAL

         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned counsel for

Plaintiff, General Tools & Instruments, LLC, hereby notifies this Court that the Plaintiff voluntarily dismisses

with prejudice any and all claims against the following defendants:

 Doe #    Seller Name                           Seller ID                          Def. E-mail
    7     bothwinner                            bothwinner                         support1@bothwinner.com
   16     jyccolor                              jyccolor                           ivypeng@bothwinner.com
  526     TD-Fourtenn-store                     A1BIR104OOGBWB                     td5store@hotmail.com
  562     527 SQUAD                             A2LTHHQOW6L7MC                     yanghy9192@163.com
  589     EF-T                                  A3SFQS2Q4BM7U9                     artef_s@hotmail.com
  612     Enrui.SR9                             AUDXQL6KVLR7W                      sr92017us@hotmail.com
  714     cosme_link                            cosme_link                         support@fashoutlet.com
 1157     loverlyer                             5344b510bb72c56198ccd4c5           loverlyer123@126.com
 1303     shenzhenguangruizhitechnologycoltd    5604b9c3ecac2942999818ca           skytes@163.com
 1460     customerstore                         57976393141f7e0f8649614a           pdg96945@163.com
 1502     moringmr1                             57ea468c28a7374e700f3d34           lygef5wish@hotmail.com
 1739     leotechnologylimited                  58f3505d6e971211a4f728c0           pengxuehuan@163.com
 1924     smartmumbeautifulbaby                 59d8db3847d5667861346757           jiangaijiaoamz@hotmail.com
 2027     ssvnmeuoo                             5acd617b4f6b492c6e48bed9           wmi13zhangxue@hotmail.com


Dated: August 30, 2019
                                                                          Respectfully submitted,

                                                                             By:      /s/ Rishi Nair

                                                                                       Rishi Nair
                                                                               ARDC # 6305871
                                                                                 Kevin J. Keener
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